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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND
                                  SOUTHERN DIVISION

American Federation of Teachers, et al.,      Case No. 8:25-cv-00430

              Plaintiffs,

       vs.                                    Date:
                                              Time:
SCOTT BESSENT, in his official capacity as    Place:
Secretary of the Treasury, et al.,            Judge: Hon. Deborah Boardman

              Defendants.




      MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’ MOTION FOR
                TEMPORARY RESTRAINING ORDER




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                                        INTRODUCTION

       Millions of Americans rely on the Department of the Treasury (“Treasury”), the Office of

Personnel Management (“OPM”), and the Department of Education (“Education”) for essential

services and benefits. They receive tax refunds, federal salaries, social security benefits, and

veterans pay through the Treasury. They apply for federal employment and receive health

benefits through OPM. They petition for—and receive—loans through Education to finance

their pursuits of higher education and schooling. It is no exaggeration to say that collectively,

these three agencies and departments provide essential services to nearly every American in one

form or another.

       To facilitate the provision of these services, all three agencies rely on the American

people to provide sensitive personally identifiable information (“PII”) like social security

numbers, physical addresses, dates of birth, financial information, and more—information that

the agencies then store on their data systems. That exchange is not without risk to the public. In

the wrong hands, that information can be repurposed for identity theft and financial fraud with

devastating consequences for the people whose information has been disclosed; it can also be

used as a weapon to target perceived critics or other disfavored individuals for adverse treatment.

       Recognizing the potential for great harm when personal information is consolidated in the

government, Congress enacted the Privacy Act of 1974. The Act was one of the crucial reforms

passed in response to the Watergate scandal: It codified the people’s right to privacy in the

personal data and information they shared with the government, and it imposed strict limits on

who in the government could access this information and under what circumstances.

       Since the Act’s passage, government agencies and departments have zealously

safeguarded the sensitive personal information stored in their systems—a commitment to

protection that has been upheld from one administration to the next. Employees at these

departments have historically rebuffed requests by even the White House for information

contained within their data systems and restricted access on a strict need-to-know basis. By
upholding their obligations under the Privacy Act, as they have done historically, all three



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agencies upheld their end of the social contract: They used the personal information entrusted to

them by the American people only for the purposes for which it was collected and to facilitate

routine government functions.

         In the last few weeks, Defendants1 have broken that social contract, and violated the

Privacy Act, by granting unfettered access to their data systems and the PII contained within

those systems to dozens of individuals operating at the direction of well-known entrepreneur

Elon Musk. These individuals purportedly belong to the Department of Government Efficiency

(“DOGE”). DOGE was created by an executive order and is not a Congressionally-established

Department. Defendants have allowed DOGE representatives to help themselves to the PII

contained within Defendants’ systems, and to do so for DOGE’s improper purposes, which range

from disrupting the Treasury’s functions to functionally dismantling the Department of

Education. They have expressed a desire to feed Americans’ sensitive information to artificial

intelligence (“AI”) tools and software, further enhancing the risk that PII will be disclosed

outside of the government. And they have done all of this while withholding information from

the American public about who they are and what they have done with the information that they

have accessed.

         Plaintiffs include Americans who collect veterans benefits, applied for student loans, and

worked as federal employees and whose PII is stored in Defendants’ systems that have been

accessed by DOGE representatives. Plaintiffs also include union organizations whose members’

PII is likewise stored within these systems. Together, they seek to vindicate their privacy rights

under the Privacy Act and to put an end to DOGE representatives’ access to their PII—access to

which they did not consent. Defendants’ unprecedented decision to abandon their duties as

guardians and gatekeepers of tens of millions of Americans’ sensitive information stored in their




1
 Defendants are Scott Bessent, in his official capacity as Secretary of the Treasury; the U.S. Department of the
Treasury; Charles Ezell, in his official capacity as the Acting Director of the Office of Personnel Management; the
U.S. Office of Personnel Management; Denise L. Carter, in her official capacity as the Acting Secretary of
Education; and the U.S. Department of Education.



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systems has forced Plaintiffs to seek a temporary restraining order from this Court enjoining

further unauthorized disclosures while the parties litigate this case.

                                     STATEMENT OF FACTS

        I.      The Privacy Act of 1974

        When President Ford signed the Privacy Act of 1974 into law, he made clear its lofty

purpose, which was to “protect[] a right precious to every American—the right of individual

privacy.” Gerald R. Ford, Statement on Signing the Privacy Act of 1974 ¶ 1, The American

Presidency Project (Jan. 1, 1975), https://www.presidency.ucsb.edu/documents/statement-

signing-the-privacy-act-1974 (“Privacy Act Signing Statement”). Recognizing the “vital need to

provide adequate and uniform privacy safeguards for the vast amounts of personal information

collected, recorded, and used” by the government, President Ford praised the Privacy Act for

taking the “historic” step of “codifying fundamental principles to safeguard personal privacy in

the collection and handling of recorded personal information by Federal agencies.” Id. ¶ 3.

        President Ford was not alone in his assessment of the Act’s significance. Senator Ervin,

when introducing the bill that would eventually become the Privacy Act, likewise stressed the

importance of protecting “one of our most fundamental civil liberties—the right to privacy.”

U.S. Cong. Senate Comm. on Gov’t Operations, 94th Cong., Legislative History of the Privacy

Act of 1974, at 3 (2d Sess. 1976), https://web.archive.org/web/20220401081501/https://www.

justice.gov/opcl/PAOverview_SourceBook (“Privacy Act Legis. Hist.”). Referencing Watergate,

Senator Ervin emphasized that “there must be limits upon what the Government can know about

each of its citizens” because “[w]hen the Government knows all of our secrets, we stand naked

before official power. . . . [W]e lose our rights and privileges.” Id. at 4. To that end, he believed

it was imperative that Congress “act before sophisticated new systems of information gathering

and retention . . . produce widespread abuses” within the government. Id. at 5.

        The Privacy Act was Congress’s solution to the threat of unchecked government access

to sensitive information belonging to the American people. For more than half a century, the Act
has “balance[d] . . . the right of the individual to be left alone and the interest of society in open



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government, national defense, foreign policy, law enforcement, and a high quality and

trustworthy Federal work force.” See Privacy Act Signing Statement ¶ 3. It has maintained that

delicate balance by requiring federal agencies to “collect, maintain, use, or disseminate any

record of identifiable personal information in a matter that assures that such action is for a

necessary and lawful purpose” and prevents “misuse.” See Privacy Act Legis. Hist. at 501.

       All agencies that possess a system of records subject to the Privacy Act must publish a

Statement of Record Notice (“SORN”) in the Federal Register that sets forth the name and

location of the system, the categories of individuals whose records are maintained in the system,

the categories of records maintained in the system, and “each routine use of the records

contained in the system, including the categories of users and the purpose of such use,” among

other information. 5 U.S.C. § 552a(e)(4). Federal agencies are forbidden from disclosing

records in their systems absent written request or prior written consent by the person whose

records are at issue, except in specifically delineated circumstances. Id. § 552a(b). One such

circumstance is disclosure to an officer or employee of the agency that maintains the record and

who has “a need for the record in the performance of their duties” for the agency. Id.

§ 552a(b)(1). Another such circumstance is when disclosure of the record is “for a routine

use”—that is, for a use “compatible with the purpose for which it was collected” and described

in a SORN published by the agency that maintains the record. Id. § 552a(a)(7), (b)(3).

       II.     Defendants’ Data Systems

       As technology has advanced over the decades, the government’s various data systems

have swelled in size and the protections of the Privacy Act have become increasingly important.

Combined, Defendants’ data systems hold PII for tens of millions of Americans across the

country, including but not limited to social security numbers, incomes, addresses, bank account

numbers, and dates of birth, which are used to disburse social security benefits, manage health

benefits for federal employees, and facilitate federal student loans. Am. Compl. ¶ 48 nn.22–23,

¶ 73 nn.60–61, ¶ 96 n.86, ¶ 97 n.87. Consistent with the Privacy Act, federal agencies have—
until now—zealously guarded access to these systems even within their respective departments.



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                           (i) The Treasury Department’s Federal Disbursement System

       Treasury oversees and maintains the Federal Disbursement Services (“FDS”), which

provides critical payment services for hundreds of federal agencies. Id. ¶ 46 n.20. Requests for

payment, once authorized by other federal agencies, are routed to the FDS for disbursement. Id.

¶ 50 n.27. Neither Treasury nor its subdivision, the Bureau of the Fiscal Service, where the FDS

is housed, exercise independent judgment as to whether a payment already approved for

disbursement by another agency should be disbursed. Id.

       Last fiscal year, FDS disbursed more than 1.27 billion payments, valued at more than

$5.45 trillion. Id. ¶ 47 n.21. More than 70 million Americans—including Plaintiffs—rely on

FDS’s disbursements for federal income-tax refunds, veterans’ pay, and social-security benefits.

Id. ¶ 46 n.20. To facilitate these disbursements, FDS includes extensive PII for recipients of

these funds, including names, Social Security numbers, dates and locations of births, physical

addresses, telephone numbers, and financial-institution information, among other PII. Id. ¶ 48

n.22; see, e.g., Decl. of Clifford “Buzz” Grambo ¶¶ 6–7 (“Grambo Decl.”); Decl. of Sarah

Tammelleo ¶¶ 6–7 (“Tammelleo Decl.”).
       Historically, Treasury has restricted access to the FDS and its trove of PII to a small

group of career employees that oversee the FDS’s operations. Id. ¶ 49 nn.24–26. In 2020,

Treasury published a SORN describing each of the systems of records within the FDS. See

Privacy Act of 1974; System of Records, 85 Fed. Reg. 11776 (Feb. 27, 2020). The SORN

additionally lists 19 “routine uses” for which prior written consent of the person whose record is

being accessed is not required. Id. These include uses that are obviously connected to

Treasury’s functions, such as performing payment processing services, disclosures to federal,

state, and local agencies for tax purposes, disclosures to private creditors for the purpose of

garnishing wages of an employee if a debt has been reduced to a judgment, and responding to a

breach of Treasury records. Id. at 11777–78; see Grambo Decl. ¶ 7 (“I provided this personal

information [to Treasury] in order to access essential services like disability payments and my
military pension.”). These routine uses do not include access to FDS’s payment systems and the



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PII contained within for the purpose of halting already-approved disbursements. Notably, until

this year, it was “extremely unusual” for anyone with a connection to political appointees to

request, much less gain access to, the FDS’s payment systems. Am. Compl. ¶ 49 n.25.

                           (ii) The Office of Personnel Management’s Data Systems

       OPM serves as the “chief human resources agency and personnel policy manager for the

Federal Government.” Id. ¶ 71 n.58. As part of its responsibilities, OPM maintains data systems

for USAJOBS, the Enterprise Human Resources Integration Data Warehouse (“EHRI DW”),

USA Staffing, USA Performance, and the Health Insurance Data Warehouse (“HI DW”), among

others. Id. ¶ 78 n.67. Together, these systems contain PII for tens of millions of individuals,

including current and former federal employees as well as applicants for federal jobs. Id. ¶ 73

nn.60–61. These systems include PII and sensitive information such as names, Social Security

numbers, employment history, work experience, education, salaries, records of participation in

the federal employees’ health benefits and insurance programs, addresses, demographic

information, and more. See id. ¶ 73 n.60; see, e.g., Privacy Act of 1974: Update Existing System

of Records, 77 Fed. Reg. 73694, 73694–95 (Dec. 11, 2012) (GOVT-1). All told, OPM houses

data for tens of millions of individuals currently or formerly employed at more than 500 federal

agencies, including data belonging to Plaintiffs. Id. ¶ 73 n.61; see, e.g., Decl. of Donald

Martinez ¶ 8 (“Martinez Decl.”); Tammelleo Decl. ¶¶ 6–7.

       OPM has published SORNs for each of these systems. See System of Records Notices

(SORN), U.S. Office of Personnel Mgmt., https://www.opm.gov/information-management/

privacy-policy/#url=SORNs. Similar to the Treasury Department’s FDS payment systems, OPM

has historically restricted access to its general personnel records and other system records to

“senior career employees” at OPM. Id. ¶ 73 n.61. Consistent with this, OPM’s SORN for

general personnel records states that “[a]ccess to computerized records is limited, through use of

user logins and passwords, access codes, and entry logs, to those whose official duties require

access.” 77 Fed. Reg. 73694, 73,698. OPM’s SORNs for its other systems of records contain
similar statements on restricting access. See, e.g., Privacy Act of 1974: Update and Amend



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System of Records, 79 Fed. Reg. 16834, 16837 (Mar. 26, 2014) (GOVT-5); OPM SORN GOVT-

2, U.S. Off. of Personnel Mgmt., https://www.opm.gov/information-management/privacy-

policy/sorn/opm-sorn-govt-2-employee-performance-file-system-records.pdf. The information

contained within OPM is so sensitive that historically, OPM has rebuffed even requests by the

White House for certain types of data maintained by OPM. Am. Compl. ¶ 132 n.114.

       OPM has also published routine uses associated with each of its SORNs. For example,

OPM enumerates many routine uses in connection with its general personnel records system—

each of which is closely aligned with the agency’s core functions, including but not limited to

disclosure to training facilities for training purposes, disclosure to health-insurance carriers to

identify enrollment in health-benefit plans, and disclosure to other federal agencies that require

relevant information contained within the systems to make hiring decisions. 77 Fed. Reg. 73694,

73696–68. None of the enumerated routine uses for this system or any other OPM system

containing information from USAJOBS, EHRI DW, USA Staffing, USA Performance, or HI

DW contemplate disclosing records contained within the system for the purpose of mass firing

personnel. See, e.g., 79 Fed. Reg. at 16836–87 (GOVT-5), Privacy Act of 1974; System of

Records, 89 Fed. Reg. 72902, 72904-05 (CENTRAL-23); see also Am. Compl. ¶ 90 n.81.

                           (iii) The Education Department’s Student Loan Systems

       Education’s responsibilities include managing a series of overlapping federal student-

loan systems through its Federal Student Aid office. See Federal Student Aid, U.S. Dep’t of

Educ., https://www.ed.gov/about/ed-offices/fsa. These systems include the National Student

Loan Data System (“NSLDS”), the Common Origination and Disbursement System (“CODS”),

the FUTURE Act System (“FAS”), and the Financial Management System (“FMS”). Am.

Compl. ¶ 95 n.85, ¶ 98 n.88, ¶ 100 n.90, ¶ 102 n.92. The NSLDS is the central database for Title

IV student financial aid. Id. ¶ 95 n.85. CODS processes information in connection with

determining eligibility for federal student aid. Id. ¶ 98 n.88. FAS is a database that Education

uses to determine eligibility and repayment obligations under the various repayment plans the
government offers for federal student loans. Id. ¶ 100 n.90. Lastly, FMS primarily interfaces



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with all of the aforementioned data systems to centralize all federal student-aid accounting and

financial data. Id. ¶ 102 n.92.

         These student-loan systems collectively contain PII for tens of millions of Americans,

including Plaintiffs. Id. ¶ 96 n.86; see, e.g., Martinez Decl. ¶ 8; Tammelleo Decl. ¶ 7. In

particular, the student-loan systems capture data from applicants and participants—as well as

from their parents, spouses, and endorsers—for Title IV programs, such as the Federal Pell Grant

Program, the Federal Perkins Loans Program, and the Academic Competitiveness Grant

Program. See Privacy Act of 1974; System of Records, 88 Fed. Reg. 41942, 41946 (June 28,

2023) (CODS). They also capture data provided by aid applicants of or participants in the Free

Application for Federal Student Aid (“FAFSA”), including data on the aid applicant’s or aid

recipients’ spouse or parents. Privacy Act of 1974; System of Records, 88 Fed. Reg. 42220,

42222 (June 29, 2023) (FAS). More than 17.6 million FAFSA forms are completed each year.

See Olivia Munson, Looking to Submit This Year’s FAFSA? Here Is How the Application Works

and Its Eligibility, USA Today (Apr. 19, 2024), https://www.usatoday.com/story/money/2024/

04/19/what-is-fafsa/73382299007. Among the types of PII stored on these systems are social

security numbers, names, dates of birth, driver’s licenses, demographic data, income and asset

information, and addresses. Am. Compl. ¶ 96 n.86, ¶ 97 n.87, ¶ 99 n.89, ¶ 101 n.91, ¶ 102 n.92.

         Education has published SORNs for each of these federal student-loan systems, all but

one of which state that the “information contained” within these systems is “maintained for

various purposes relating to aid applicants and recipients.” Privacy Act of 1974; System of

Records, 89 Fed. Reg. 44652, 44652 (May 21, 2024) (NSLDS); see also 88 Fed. Reg. 41942,

41942 (CODS); 88 Fed. Reg. 42220, 42221 (FAS). The sole exception is FMS, in which

“[i]nformation . . . is maintained for the purpose of processing refunds to borrowers or loan

holders . . . for overpayments and discharges of Title IV Federal student aid.” Privacy Act of

1974; System of Records—Financial Management System (FMS), 73 Fed. Reg. 177, 178 (Jan. 2,

2008).




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       The SORNs for each of these databases make clear that access is strictly limited. For

NSLDS and FAS, which house FAFSA-related data, data access is limited to “authorized

NSLDS program personnel and contractors responsible for administering the NSLDS program,”

89 Fed. Reg. 44652, 44660, and “Education and contract staff on a ‘need-to-know’ basis,” 89

Fed. Reg. 44652, 42225, respectively. For CODS, which houses data associated with

Education’s Title IV programs, access is also limited to “Department and contract staff on a

‘need-to-know’ basis.” 88 Fed. Reg. at 41951. Access to FMS is likewise limited to staff on a

“need-to-know” basis. 73 Fed. Reg. 177, 179 (FMS).

       Education is permitted to disclose information maintained in each of these data systems

without individual consent if the disclosure is for a routine use “compatible with the purposes for

which the record was collected.” 89 Fed. Reg. 44652, 44657 (NSLDS); 88 Fed. Reg. 42220,

42224 (FAS); 88 Fed. Reg. at 41948 (CODS). Such routine uses include disclosures that

advance specific program purposes and disclosures that are necessary to respond to any breach of

data. 89 Fed. Reg. 41948, 44657 (NSLDS); 88 Fed. Reg. 42220, 42224 (FAS); 88 Fed. Reg.

41948, 41950 (CODS); 73 Fed. Reg. at 177, 178–79 (FMS); see Martinez Decl. ¶ 9 (“I provided

this personal information in order to access . . . funds to help with educational expenses.”).

       III.    DOGE’s Unprecedented Access to Government Data Systems

       DOGE representatives’ commandeering of some of the most sensitive data systems in the

government is unprecedented.

       After President Trump won the 2024 presidential election, he announced that Elon Musk

would lead an initiative called the “Department of Government Efficiency.” See Elena Moore,

Camila Domonoske & Jeongyoon Han, Trump Taps Musk to Lead a ‘Department of Government

Efficiency’ with Ramaswamy, NPR (Nov. 12, 2024), https://www.npr.org/2024/11/12/g-s1-

33972/trump-elon-musk-vivek-ramaswamy-doge-government-efficiency-deep-state. Shortly

thereafter, Musk’s affiliates—many of whom are recent high-school or college graduates—

sought access to some of Defendants’ data systems and the sensitive PII contained within. Am.
Compl. ¶¶ 37 n.10, ¶51 n.28 & 29. In particular, these affiliates repeatedly requested access to



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the Treasury’s FDS payment systems to shut down disbursements. Id. ¶ 51 n.28 & n.29. David

A. Lebryk, a senior career civil servant at Treasury, denied their requests. Id. ¶ 52 n.31.

       Following his inauguration on January 20, President Trump issued an Executive Order

replacing the United States Digital Services with DOGE. Id. ¶ 33 n.5. On January 24, 2025,

representatives of DOGE once again approached Lebryk, who was now Acting Secretary of the

Treasury, and demanded that he “immediately shut off all USAID payments using [Treasury’s]

ultra-sensitive payment processing system.” Id. ¶ 52 n.30. Lebryk refused, on the basis that

stopping payments that other federal agencies have requested and approved was not within the

scope of the Treasury’s work. Id. ¶ 52 n.31. Following Lebryk’s refusal, he was placed on

administrative leave. Id. ¶ 52 n.32. Lebryk eventually chose to retire. Id.

       In late January, while Lebryk was on administrative leave, Defendants Bessent and the

Treasury granted at least two DOGE representatives access to the FDS: Tom Krause, the CEO of

Cloud Software Group, and Marko Elez, a 25-year-old DOGE representative and Musk affiliate.

Id. ¶ 53 n.33 & n.34. Although White House Press Secretary Karoline Leavitt, the Treasury, and

representatives of the Treasury initially maintained that Krause and Elez possessed only read-

only access to the FDS—which, in any event, would have been sufficient to view and copy the

PII stored on FDS—public reporting indicated that their access was not so limited. Id. ¶ 56 n.38

& n.39, ¶ 57 n.40. On February 11, 2025, a Treasury official confirmed in a sworn affidavit that

Elez did in fact possess both read and write permissions to Treasury’s payments systems for a

period of time. See Decl. of Joseph Gioeli III ¶ 20, New York v. Dep’t of Treasury, No. 1:25-cv-

1144-JAV (S.D.N.Y. Feb. 11, 2025), ECF. No. 34.

       At or around the same time Krause and Elez sought and gained access to the Treasury’s

FDS payment systems, at least 6 other representatives of DOGE were deployed to OPM and

Education to access each entity’s respective data systems. Am. Compl. ¶ 76 n.65. Defendants

OPM and Acting Director Ezell provided DOGE representatives, including a recent high school

graduate, with administrative access to its sensitive systems and databases and revoked access to
career officials who have long had access to these systems to fulfill their OPM duties. Id. ¶ 77



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n.66, ¶ 78 n.67, ¶ 79 n.68. As discussed supra p.6, these systems and databases hold PII data

from USAJOBS, USA Staffing, USA Performance, the Health Insurance Data Warehouse, and

others for federal employees, retired federal employees, and applicants for federal employment.

       Neither OPM nor DOGE representatives, including Musk, have articulated any reason

why they require sweeping access to OPM’s systems, but a White House official was quoted as

saying that access was required for “corporate restructuring.” Id. ¶ 89 n.80. On January 28,

2025, more than 2 million federal employees—including some members of the union

Plaintiffs—received an email from OPM, titled “Fork in the Road.” See Nick Bednar, Breaking

Down OPM’s ‘Fork in the Road’ Email to Federal Workers, Lawfare (Jan. 30, 2025),

https://www.lawfaremedia.org/article/breaking-down-opm-s--fork-in-the-road--email-to-federal-

workers; Off. Personnel Mgmt., Fork in the Road (Jan. 28, 2025), https://www.opm.gov/fork.

The email purportedly offered workers the opportunity to take approximately eight months of

paid leave and then resign.

       On or before February 3, Defendants Education and Acting Secretary of Education

Denise Carter likewise granted approximately 20 representatives of DOGE access to the

Department’s sensitive data systems. Am. Compl. ¶ 103 n.93. As discussed supra pp.7-8,

Education’s systems include information from tens of millions of Americans who have applied

for, or sponsored an application for, student loans or grants managed by Education. After

obtaining access, members of DOGE began feeding “sensitive data from across the Education

Department into artificial intelligence software.” Id. ¶ 104 n.96. The software and tools that

DOGE is using to review sensitive information is reportedly hosted on cloud-based computers

that are located outside of the federal government. Id. ¶ 110 n.101. While it is not clear whether

DOGE representatives have begun feeding Plaintiffs’ PII to these AI systems, neither has that

possibility been ruled out. The Washington Post has reported that DOGE and its members plan

to replicate the AI process “across many departments and agencies” to sift through information

“about spending on employees and programs.” Id. ¶ 104 n.96. And a declaration filed by the
Treasury in a separate action reflects that Elez “automat[ed] the manual review” of sensitive



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payment information. Decl. of Vona S. Robinson ¶ 11, New York v. Dep’t of Treasury, No.

1:25-cv-1144-JAV (S.D.N.Y. Feb. 11, 2025), ECF. No. 32. Plaintiffs include current and former

federal employees and individuals who have applied for and received financial support through

Education programs, as well as individuals whose PII information is stored in FDS. E.g.,

Tammelleo Decl. ¶ 3; Martinez Decl. ¶ 5.

       Defendants are aware of the significant security risks posed by DOGE representatives’

unfettered access to these systems. An internal threat analysis conducted by the Treasury has

designated DOGE as an “insider threat,” with its threat intelligence team recommending

immediate suspension of DOGE’s access. Am. Compl. ¶ 136 n.116. That same threat analysis

warned that “[c]ontinued access to any payment systems by DOGE members, even ‘read only,’

likely poses the single greatest insider risk the Bureau of Fiscal Service”—which oversees FDS

within the Treasury—“has ever faced.” Id. ¶ 136 n.118.

       Notwithstanding this warning, Defendants continue to provide DOGE representatives

with access to a number of sensitive data systems. One federal court has issued a temporary

restraining order blocking DOGE representatives from continued access to the FDS and

requiring the destruction of any unauthorized copies of the data contained within FDS, see Order,

New York v. Dep’t of Treasury, No. 1:25-cv-1144-JAV (S.D.N.Y. Feb. 11, 2025), ECF No. 6.

Separately, Education has agreed to temporarily prohibit DOGE representatives from accessing

its student loan data systems until February 17, 2025. See Joint Stipulation, Univ. of Cal.

Student Ass’n v. Carter, No. 1:25-cv-00354 (D.D.C. Feb. 11, 2025), ECF No. 12. That

agreement does not require Education to retrieve and destroy any copies of PII and confidential

information that DOGE representatives have made of the information contained on Education’s

systems. And, in any event, an undetermined number of DOGE representatives remain at liberty

to access OPM’s systems without restriction today.

                                      LEGAL STANDARD

       A temporary restraining order is a matter of the Court’s equitable discretion, and may be
awarded upon a showing by the plaintiff “[1] that he is likely to succeed on the merits, [2] that he



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is likely to suffer irreparable harm in the absence of preliminary relief, [3] that the balance of

equities tips in his favor, and [4] that an injunction is in the public interest.” Winter v. Natural

Res. Def. Council, Inc., 555 U.S. 7, 22 (2008); see ClearOne Advantage, LLC v. Kersen, 710 F.

Supp. 3d 425, 431 (D. Md. 2024) (“The standards for granting a TRO and granting a preliminary

injunction are the same.”).

                                           ARGUMENT

       I.      Plaintiffs Are Likely to Succeed on the Merits.

       Plaintiffs are likely to succeed on the merits of their suit to enjoin Defendants’ unlawful

decisions to disclose vast swaths of personally identifiable information to DOGE representatives.

Agency disclosures of sensitive, personally identifiable information are carefully circumscribed

by the Privacy Act of 1974, which was enacted to “safeguard personal privacy in the collection

and handling of recorded personal information by federal agencies.” Statement on Signing the

Privacy Act of 1974 ¶ 3. Defendants’ decisions to disclose plainly violate the Privacy Act’s

restrictions, and do not fall within any of its exceptions. Those decisions failed to take into

account the serious security risks associated with large-scale disclosures of sensitive information

to DOGE representatives, many of whom are recent college graduates and at least one of whom

has leaked proprietary information before. Defendant Agencies’ disclosure decisions are

contrary to law, in excess of their statutory authority, and arbitrary and capricious. As a result,

they must be enjoined pursuant to the Administrative Procedure Act (“APA”).

               A.      Defendants’ Grants of Access to DOGE Representatives Constitute
                       Disclosures of Records Under the Privacy Act

       The Privacy Act governs federal agency maintenance of PII, placing strict limitations on

an agency’s ability to disclose records containing such information. Specifically, it prohibits

federal agencies from “disclos[ing] any record which is contained in a system of records . . . to

any person, or to another agency” without the authorization of the individual to whom the record

pertains. 5 U.S.C. § 552a(b). It is indisputable that Defendants have disclosed records to DOGE
representatives within the meaning of the statute.




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       Courts and agencies alike have defined “disclosure” under the Act “liberally,” to include

not just a record’s dissemination, but also the granting of access to a record. Wilkerson v.

Shinseki, 606 F.3d 1256, 1268 (10th Cir. 2010) (holding that “disclosure” “include[s] not only

the physical disclosure of the records, but also the accessing of private records”); 1795 Privacy

Act Guidelines – July 1, 1975, 40 Fed. Reg. 28949, 28953 (July 9, 1975) (“A disclosure [under

the Privacy Act] may be either the transfer of a record or the granting of access to a record.”).

The Act defines a “record” as “any item, collection, or grouping of information about an

individual that is maintained by an agency.” 5 U.S.C. § 552a(a)(4). In the last few weeks, OPM,

Treasury, and Education have granted DOGE officials sweeping access to systems of records

that contain millions of records with extensive personally identifiable information about

Plaintiffs and their members, including their social security numbers, sensitive financial

information, and addresses. Each of these systems has been the subject of a published SORN,

see supra pp. . Accordingly, Defendants have made “disclosures” of “records” under the Act.

               B.      The Administrative Procedure Act Authorizes Injunctive Relief to
                       Stop Disclosure Decisions Made in Violation of the Privacy Act

       When an agency decides to disclose records in violation of the Privacy Act, the APA

authorizes individuals whose information is contained in such records to seek injunctive relief to

stop the disclosure. The APA provides that a court must grant review of—and may ultimately

enjoin—an agency decision where (1) that decision constitutes a “final agency action”; and (2)

there is “no other adequate remedy” available. 5 U.S.C. § 704. Both requirements are met

where, as here, a Plaintiff challenges a decision to disclose his or her records in violation of the

Privacy Act and there is no other adequate remedy available to prevent Defendants’ disclosure.

As the Fourth Circuit has expressly recognized, “injunctive relief for a Government’s violation

of the [Privacy] Act” is “appropriate and authorized by the APA.” Doe v. Chao, 435 F.3d 492,

505 n.17 (4th Cir. 2006) (citing 5 U.S.C. § 706(2)(A)).




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       Defendants’ decisions to provide representatives of DOGE with access to sensitive record

systems constitute “final agency action[s]” subject to judicial review.2 5 U.S.C. § 704. The

Supreme Court has held that an agency’s “decision to disclose” records is a final agency action

reviewable under the APA. Chrysler Corp. v. Brown, 441 U.S. 281, 318 (1979) (holding an

agency’s “decision to disclose” reports pursuant to FOIA “is reviewable agency action” under

the APA); see Brancheau v. Sec’y of Lab., 2011 WL 4105047, at *2 (M.D. Fla. Sept. 15, 2011)

(“In Brown, the government agency had already made a decision to release the documents at

issue,” meaning “there was final agency action.”). Here, Defendant Agencies decided to grant

DOGE employees unfettered access to systems of records containing PII. As in Brown, these

“decisions to disclose” are reviewable under the APA.

       “[T]here is no other adequate remedy” available to Plaintiffs to redress the harm caused

by Defendants’ decision to disclose their information. 5 U.S.C. § 704. As the Fourth Circuit

recognized in Chao, injunctive relief to stop an unlawful disclosure “could not possibly have

been obtained, standing alone, under the relevant subsections of the Privacy Act.” Doe, 435 F.3d

at 505. This is because “the Privacy Act makes no provision for injunctive relief to prevent

violations of subsection (b) as part of the remedies that it does provide.” Id. at 504 (cleaned up).

Instead, injunctive relief must be obtained via the APA. Id. at 505.

               C.      Defendants’ Decisions to Disclose Are Unlawful and Must Be “Set
                       Aside” Pursuant to the Administrative Procedure Act

       The APA requires a reviewing court to “hold unlawful and set aside” any agency action

that is arbitrary and capricious; “not in accordance with law”; or exceeds the statutory authority

of the agency. 5 U.S.C. § 706(2). Defendant Agencies’ decisions to disclose must be held

unlawful and enjoined on all three grounds.




2
 In determining whether an action constitutes a reviewable “final agency action,” this Court
applies a “strong presumption that courts may review informal agency adjudication.” Doe v.
Tenenbaum, 127 F. Supp. 3d 426, 459 (D. Md. 2012).


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                         1.     Defendants’ Decisions to Disclose Are Contrary to Law and
                                Exceed Their Statutory Authority

        Defendants’ disclosures must be enjoined under the APA because they directly violate

the Privacy Act. An agency’s decision to disclose records in violation of the Privacy Act

“clearly is a case of agency action ‘not in accordance with law’ within the meaning of 5 U.S.C.

§ 706(2).” Doe v. Stephens, 851 F.2d 1457, 1466 (D.C. Cir. 1988) (emphasis added) (quoting 5

U.S.C. § 706(2)).

        Defendants’ decisions to disclose violate the Privacy Act because (1) Defendants failed to

obtain authorization from the affected individuals prior to disclosure and (2) no statutory

exception applies. The records disclosed to DOGE officials include Plaintiff’s highly sensitive

personal information. E.g., Grambo Decl. ¶ 6. Yet no individual Plaintiff or member of a union

Plaintiff consented to these disclosures. See e.g., Martinez Decl. ¶ 10 (“I did not request

disclosure of my personal information to DOGE representatives or provide written access

authorizing such disclosure.”); Tammelleo Decl. ¶ 8 (“not aware of any AFT member who has

requested or authorized” DOGE’s access). Defendants’ decisions to disclose are unlawful under

the Privacy Act unless they fall within one of the Act’s specifically enumerated exceptions.

        None of the Privacy Act’s thirteen enumerated exceptions applies. See 5 U.S.C.

§ 552(b). Six of them are for disclosures to consumer reporting agencies and government

entities not relevant here. See id. § 552(b)(4), (6), (9), (10), (11), (13). Five other exceptions

pertain to statistical research, civil or criminal law enforcement activities authorized by law, the

health and safety of the individual whose record is the subject of disclosure, court orders

authorizing disclosure, and disclosures required by the Privacy Act—all of which are equally

inapplicable on their face. Id. § 552(b)(2), (5), (7), (8), (12).

        The remaining two exceptions authorize disclosure of records (1) “to those officers and

employees of the agency . . . who have a need for the record in the performance of their duties”,

5 U.S.C. § 552a(b)(1); and (2) pursuant to a “routine use,” id. § 552a(b)(3). These exceptions do
not apply here either.




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       First, the so-called “need-to-know” provision set forth in § 552a(b)(1) provides a limited

exception to the bar on disclosure, permitting disclosure where access to the record is necessary

for an agency employee to perform his duties. As an initial matter, this exception applies only to

disclosures within an agency; it “does not authorize disclosure outside the ‘agency.’” Dick v.

Holder, 67 F. Supp. 3d 167, 177-178 (D.D.C. 2014). It cannot insulate disclosures that were

made to DOGE representatives not officially employed by the disclosing agency.

       Nor can disclosures made to the DOGE representatives who were named Special

Government Employees of the relevant agencies qualify for this exception where disclosures to

such employees would undermine the purposes of the Privacy Act. In prior Privacy Act cases,

the government has generally invoked the “need-to-know” exception with respect to specific

records, and courts carefully scrutinize “whether the official examined the record in connection

with the performance of duties assigned to him and whether he had to do so in order to perform

those duties properly.” Bigelow v. Dep’t of Def., 217 F.3d 875, 877 (D.C. Cir. 2000) (emphasis

added); see Walker v. Gambrell, 647 F. Supp. 2d 529, 538 n.4 (D. Md. 2009) (reasoning that the

“need-to know” exception did not apply where “it is difficult to see how knowledge with such

specificity was necessary”).

       This record-by-record approach is by design. The Privacy Act was enacted in part to

ensure that government agencies and their employees accessed only that information necessary

to perform their duties and no more. That is the only way Congress could be sure that “we never

see the day when a bureaucrat in Washington . . . can use his organization’s computer facilities to

assemble a complete dossier of all known information about an individual.” 120 Cong. Rec.

36,917 (daily ed. Nov. 21, 1974) (statement of Sen. Percy). And the “specific exemptions [to the

Privacy Act’s bar on disclosure] that Congress established reflect a delicate balance between

limiting disclosure of records, and not unduly hampering government operations.” Doe v.

DiGenova, 779 F.2d 74, 84 (D.C. Cir. 1985). In other words, the Privacy Act was designed to

avoid exactly the sorts of wholesale disclosures authorized by Defendants, which do not
“delicate[ly] balance” important competing interests so much as destroy that balance.



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       Furthermore, proclaiming DOGE representatives to be Special Government Employees

does not change the fact that those representatives have been charged with accomplishing goals

that are entirely incompatible with the legitimate aims of the Defendant Agencies—namely,

firing government employees en mass, Am. Compl. ¶ 91 n.82; cancelling already-approved

payments, id. ¶ 64 n.47; and “end[ing] the [] Department of Education, id. ¶ 116 n.104.” None

of these are valid agency objectives. See FDA v. Brown & Williamson Tobacco Corp., 529 U.S.

120, 125 (2000) (An agency “may not exercise its authority in a manner that is inconsistent with

the administrative structure that Congress enacted into law.” (internal quotation and citation

omitted)). Allowing Mr. Musk and the agency Defendants to authorize “duties” that are so broad

that they could arguably encompass every conceivable piece of government information—and

that are contrary to the lawful objectives of the agencies—would gut the Privacy Act. Cf.

Tijerina v. Walters, 821 F.2d 789, 795 (D.C. Cir. 1987) (“The agency’s efforts to elude . . .

statutory duties which cannot be shirked under the [Privacy] Act contravene the language of the

Act and the purpose behind” the provision at issue.”).

       Second, Defendants’ disclosures to DOGE representatives are not “routine uses.”

Congress took pains to craft the “routine use” exception in such a way as to “discourage the

unnecessary exchange of information to other persons or to agencies who may not be as sensitive

to the collecting agency’s reasons for using and interpreting the material.” DiGenova, 779 F.2d

at 84 (quoting 120 Cong. Rec. 40,881 (introduced by Sen. Moorhead)). Accordingly, “for a

disclosure to qualify as a ‘routine use,’ it must be compatible with the purpose for which the

agency collected the personal information, and be in accordance with a routine use the agency

has published in the Federal Register.” Fattahi v. Bureau of Alcohol, Tobacco & Firearms, 328

F.3d 176, 178 (4th Cir. 2003) (internal quotations and citations omitted).

       Defendants’ published SORNs reveal a limited set of routine uses, which are closely

tailored to the purposes for which the agencies collected the data. OPM, for instance, has

promulgated routine uses that facilitate the agency’s core functions as the federal government’s
personnel hub, including disclosure to training facilities for training purposes, disclosure to



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health insurance carriers to identify enrollment in health benefit plans, and disclosure to other

agencies that require specific information to make hiring decisions. 77 Fed. Reg. at 73,696-98.

Treasury’s promulgated routine uses likewise align with its primary directives, such as

disclosures to payment processors to facilitate payments and disclosures to other agencies for tax

purposes. 85 Fed. Reg. 11,777-78. And Education’s promulgated uses include disclosures that

hew close to its central mission of advancing specific education programs. 89 Fed. Reg. at

44657 (NSLDS); 89 Fed. Reg. at 42224 (FAS); 88 Fed. Reg. at 41948, 41950 (CODS); 73 Fed.

Reg. at 178-79 (FMS).

       Defendants, along with Mr. Musk and the President, have publicly trumpeted their

rationales for deciding to disclose records to DOGE officials, and none of those rationales fits

any of the agencies’ promulgated “routine uses,” let alone the purposes for which the underlying

data was collected. OPM has disclosed records in connection with efforts to facilitate removal of

federal employees from their positions en masse, Am. Compl. ¶ 92 n.83; Treasury has made

disclosures in connection with the halting of already-approved disbursements, id. ¶ 64 n.47; and

Education has made the disclosures in connection with efforts to terminate its own existence, id.

¶ 116 n.104. These uses are a far cry from the mission-critical “routine uses” promulgated by

Defendants and do not align with the purposes for which the records were collected. See, e.g.,

Martinez Decl. ¶ 10 (DOGE representatives “appear to be using [my personal data] for purposes

that have nothing to do with why I provided the data.”).

       Nor are Defendants permitted to twist the meaning of existing “routine uses” to shoehorn

in their impermissible disclosures. An agency “may not utilize the ‘routine use’ exception to

circumvent the mandates of the Privacy Act” by promulgating purported “routine uses” that are

not, in fact, compatible with the purpose for which the agency collected the records at issue, as

required by the Act. Doe v. Stephens, 851 F.2d 1457, 1466 (D.C. Cir. 1988). This is equally true

where an agency adopts a strained interpretation of a promulgated “routine use” in an effort to

rationalize a disclosure post-hoc. See id. Defendants’ publicly documented explanations for




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their disclosures make clear that they were not made in accordance with the requirement of the

statute; no amount of massaging the language of their “routine use” exemptions can change that.

       Defendants’ decision to grant DOGE representative sweeping access to government data

systems containing sensitive PII without Plaintiffs’ consent is clearly contrary to the Privacy Act

and exceeds the boundaries of Defendants’ statutory authority to disclose under that Act.

                       2.      Defendants’ Decisions to Disclose Were Arbitrary and
                               Capricious

       Defendants’ decisions to grant access to secured records systems were arbitrary and

capricious. Agency actions are arbitrary where an agency fails to “consider an important aspect

of the problem,” Motor Vehicle Mfrs. Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463

U.S. 29, 43 (1983), or otherwise engage in “reasoned decision making.” Michigan v. EPA, 576

U.S. 743, 750 (2015) (citation omitted). Here, Defendants’ decision to grant access to DOGE

officials manifestly failed to consider a critical aspect of the problem at hand: the security risks

associated with allowing such sweeping access to sensitive personally identifying information

belonging to tens of millions of Americans, including Plaintiffs. Specifically, Defendants failed

to properly vet officials receiving the records or install security precautions commensurate with

the sensitivity of the information at issue—namely, information that could readily facilitate

identify theft and other economic crimes against millions of Americans, see Bohnak v. Marsh &

McLennan Co., 79 F.4th 276, 287 (2d Cir. 2023) (exposure of PII to “malignant” outside actor

gave rise to a substantial risk of future identity theft or fraud). As a result, they have placed that

information in the hands of a core group of DOGE employees, which includes a teenager who

was recently fired from a corporate internship for allegedly leaking sensitive information to a

competitor. Am. Compl. ¶ 37 n.10, 138 n.124.

       Underscoring Defendants’ arbitrary decision making in this instance is the fact that

Treasury recently conducted an internal threat analysis that designated DOGE as an “insider

threat” and characterized DOGE’s administrative access to the Treasury’s payment systems as
“the single greatest insider threat risk the Bureau of the Fiscal Service has ever faced.” See id.




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¶ 135 n.118. That same intelligence report recommended immediately suspending DOGE’s

access. Id. Prior to these disclosures, it had been “extremely unusual” for individuals connected

to political appointees to request, much less gain access to, FDS payment systems. Id. ¶ 48 n.25.

Notwithstanding this, Treasury and the other agency Defendants have not meaningfully restricted

DOGE’s access. This outcome betrays a complete absence of the “reasoned decision making”

required by the APA and instead smacks of capriciousness. See Roe v. Dep’t of Def., 947 F.3d

207, 228 (4th Cir. 2020) (agency action likely to be held arbitrary and capricious where it

“evidences a complete failure to reasonably reflect upon the information contained in the record

and grabble with contrary evidence—disregarding entirely the need for reasoned decision-

making”).

       II.     Plaintiffs Will Suffer Immediate, Irreparable Harm If an Injunction Does
               Not Issue.

       Defendants’ ongoing and unauthorized disclosure of Plaintiffs’ sensitive, personally

identifiable information to DOGE representatives has harmed and will continue to irreparably

harm Plaintiffs. “To establish irreparable harm, the movant must make a ‘clear showing’ that it

will suffer harm that is ‘neither remote nor speculative, but actual and imminent.’” Mountain

Valley Pipeline, LLC v. 6.56 Acres of Land, 915 F.3d 197, 216 (4th Cir. 2019) (citation omitted).

“Additionally, the harm must be irreparable, meaning that it ‘cannot be fully rectified by the final

judgment after trial.’” Id. (quoting Stuller, Inc. v. Steak N Shake Enters., 695 F.3d 676, 680 (7th

Cir. 2012).

       Plaintiffs easily satisfy both requirements. Defendants have unlawfully granted dozens of

DOGE representatives sweeping access to Plaintiffs’ PII across multiple systems. As discussed

supra pp 4-9, that includes disclosure of Plaintiffs’ social security numbers, addresses, birth

dates, immigration status, income, driver’s license information, and contact information. E.g.,

Martinez Decl. ¶ 8. Much of this information is so sensitive that the Federal Rules of Civil

Procedure require litigants to redact them in any federal court proceeding. See Fed. R. Civ. P.
5.2(a). That is unsurprising. “Courts consistently recognize that PII can be used to commit




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identity theft.” In re Marriott Int’l Customer Data Sec. Breach Litig., 2022 WL 951692, at *5

(D. Md. Mar. 30, 2022), R. & R. adopted by In re Marriott, No. 8:18-MD-02879, ECF No. 1005;

see Martinez Decl. ¶ 11 (“I am worried that unauthorized access and disclosure of my personal

information held within the federal government will compromise my personal safety and

security.”). Defendants’ disclosure of Plaintiffs’ PII is “neither remote nor speculative.”

Mountain Valley Pipeline, 915 F.3d at 216. To the contrary, disclosure of Plaintiffs’ PII is active

and ongoing, and appears likely to be disclosed to additional DOGE representatives and/or AI

tools or software absent this Court’s intervention.

       The harm Plaintiffs have suffered, and will continue to suffer, from the unlawful

disclosure of their PII to DOGE representatives is also irreparable. The Privacy Act was

intended to protect the individual right to privacy, supra pp 3-4. Left unchecked, Defendants

will continue to run roughshod over Plaintiffs’ right to privacy. That is the “quintessential type”

of irreparable harm that preliminary injunctive relief is intended to prevent, because the violation

is both “substantial and irreversible.” Hirschfeld v. Stone, 193 F.R.D. 175, 187 (S.D.N.Y. 2000);

see also In re Alrich Pump, LLC, 2023 WL 3108509, at *2 (W.D.N.C. Apr. 26, 2023).

       In this case, the disclosure of sensitive financial and personal information “is a bell that

one cannot unring.” Senior Execs. Ass’n v. United States, 891 F. Supp. 2d 745, 755 (D. Md.

2012). Without an injunction, Defendants will provide increasing numbers of DOGE

representatives with access to Plaintiffs’ sensitive information; and DOGE representatives who

already have access to these systems will remain at liberty to make unauthorized copies of that

data and also to feed Plaintiffs’ sensitive PII into AI systems. Each additional disclosure is an

act of irreparable harm that compounds Defendants’ violations of Plaintiffs’ privacy rights. And

as a practical matter, the longer DOGE representatives are able to maintain their access to these

sensitive data systems, the greater the risk to Plaintiffs that this information will be disclosed by

those DOGE representatives to yet more individuals or even outside the government through the

use of AI tools and software to potentially devastating effect.




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       These harms have not been ameliorated by the orders issued in Alliance for Retired

Americans v. Bessent, No. 1:25-cv-00212 (D.D.C.) and New York v. Trump, No. 1:25-cv-01144

(S.D.N.Y.), because those orders address only Defendants’ disclosure of FDS records to DOGE.

They also are not resolved by the stipulation Education entered into in Univ. of Cal. Student

Ass’n v. Denise Carter, No. 1:25-cv-00354 (D.D.C. Feb. 11, 2025), which lasts only until

February 17, and does not require Education to retrieve and destroy copies of records disclosed

to DOGE representatives. See id. ECF No. 12. As of the date of this filing, DOGE

representatives can continue to access Plaintiffs’ sensitive records maintained by OPM, including

making local copies of those records, sharing records with other members of DOGE who do not

themselves have access to the systems, and/or feeding Plaintiffs’ PII into AI tools and software;

and DOGE representatives can continue to hold onto any copies of PII retrieved from Education.

Longstanding principles of equity do not require Plaintiffs to stand by helplessly while DOGE

representatives plunder their personal and private information in violation of the law. Because

Plaintiffs are suffering ongoing irreparable harm, this Court is empowered to issue preliminary

injunctive relief to prevent further harm. See, e.g., Hisp. Nat’l L. Enf’t Ass’n NCR v. Prince

George’s County, 535 F. Supp. 3d 393, 427 (D. Md. 2021) (issuing preliminary injunction after

finding “irreparable harm from the ongoing effects” of the government’s conduct).

       III.    The Equities and Public Interest Favor a Temporary Restraining Order.

       The remaining factors also weigh in favor of a restraining order to preserve the status quo

and protect Plaintiffs’ sensitive information. Plaintiffs must show “the balance of equities tips in

[their] favor, and that an injunction is in the public interest.” Winter , 555 U.S. at 20. These

“merge when the Government is the opposing party.” Nken v. Holder, 556 U.S. 418, 435 (2009).

Here, a restraining order will serve the public interest by enforcing and protecting the privacy

rights codified by the Privacy Act. “[T]he public ‘undoubtedly has an interest in seeing its

governmental institutions follow the law.’” Vitkus v. Blinken, 79 F.4th 352, 368 (4th Cir. 2023)

(citation omitted); see also Sanchez v. McAleenan, 2024 WL 1256264, at *14 (D. Md. Mar. 25,
2024) (“[Government] Defendants ‘cannot suffer harm from an injunction that merely ends an



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unlawful practice.’” (citation omitted)). The Privacy Act of 1974 was enacted by Congress to

“restore trust in government and to address what at the time was seen as an existential threat to

American democracy.” Off. of Priv. & Civ. Liberties, Overview of the Privacy Act of 1974:

2020 Edition, at 1, https://www.justice.gov/opcl/overview-privacy-act-1974-2020-

edition/introduction. A restraining order here will serve the public’s interest by giving effect to a

law of “fundamental importance.” See Privacy Act Legis. Hist. at vii.

        The peril of irreversible private-data exposure faced by Plaintiffs—and the public—also

far eclipses any interest the Government might have in pursuing its agenda to disrupt routine

federal agency operations. Indeed, President Trump recently acknowledged that DOGE has no

need for access to Plaintiffs’ personal information, indicating the Government will suffer no

harm whatsoever from a temporary restraining order protecting that information. See White

House, President Trump Holds a Press Conference with Prime Minister Shigeru Ishiba of Japan,

YouTube, at 15:42–16:31 (Feb. 7, 2025), https://www.youtube.com/live/jMiAE9X-

Wig?si=S0NkrDwEwLbrvTYM&t=942 (“[Reporter:] DOGE engineers have access to . . . .

American’s personal information like social security numbers, home addresses, bank accounts—

why does DOGE need all of that stuff? [President:] Well, it doesn’t, but they get it very

easily.”).

        Absent a restraining order, Defendants will continue to grant DOGE representatives

access to Plaintiffs’ sensitive PII in their systems, without regard for how Plaintiffs’ data is used,

copied, or further shared, and in violation of their privacy rights. The government, in contrast,

“will suffer only a delay in implementation” of its new (less protective) data-access policies and

decisions if it is ultimately successful on the merits. Mayor & City Council of Baltimore v. Azar,

392 F. Supp. 3d 602, 619 (D. Md. 2019); see Senior Execs. Ass’n, 891 F. Supp. at 753, 755

(concluding irreparable harm from potential disclosure of sensitive financial data

“overwhelmingly” outweighed government’s interest in “deterring corruption”). The balance of

equities and public interest decisively weigh in favor of issuing a temporary retaining order to
prevent further unauthorized access to Defendants’ data systems.



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                                        CONCLUSION

       For the foregoing reasons, the Court should enter a temporary restraining order in the

form requested by Plaintiffs.




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DATED: February 12, 2025



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